        CASE 0:12-cr-00295-PAM-AJB Doc. 81-1 Filed 08/07/13 Page 1 of 2

                   UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF MINNESOTA
     COURT CASE NUMBER: 12CR295 (PAM/AJB); NOTICE OF FORFEITURE

       Notice is hereby given that on July 01, 2013, in the case of U.S. v. ERIC WADE
FORCIER and JULIE ANN CAMPANA, Court Case Number 12CR295 (PAM/AJB), the
United States District Court for the District of Minnesota entered an Order condemning
and forfeiting the following property to the United States of America:

    a .32 caliber FEG pistol, serial number BK1827 (13-ATF-011423); and

    all associated ammunition.

        The United States hereby gives notice of its intent to dispose of the forfeited
property in such manner as the United States Attorney General may direct. Any
person, other than the defendant(s) in this case, claiming interest in the forfeited
property must file a Petition within 60 days of the first date of publication (July 02, 2013)
of this Notice on this official government internet web site, pursuant to Rule 32.2 of the
Federal Rules of Criminal Procedure and 21 U.S.C. § 853(n)(1). The petition must be
filed with the Clerk of the Court, 202 U.S. Courthouse, 300 South Fourth Street,
Minneapolis, MN 55415, and a copy served upon Assistant United States Attorney
James S. Alexander, 600 U.S. Courthouse, 300 South Fourth Street, Minneapolis, MN
55415. The petition shall be signed by the petitioner under penalty of perjury and shall
set forth the nature and extent of the petitioner's right, title or interest in the forfeited
property, the time and circumstances of the petitioner's acquisition of the right, title and
interest in the forfeited property and any additional facts supporting the petitioner's
claim and the relief sought, pursuant to 21 U.S.C. § 853(n).

         Following the Court’s disposition of all petitions filed, or if no such petitions are
filed, following the expiration of the period specified above for the filing of such
petitions, the United States shall have clear title to the property and may warrant good
title to any subsequent purchaser or transferee.




                                                                           Attachment 1
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                                 Advertisement Certification Report


The Notice of Publication was available on the www.forfeiture.gov web site for at least 18 hours per day
between July 2, 2013 and July 31, 2013. Below is a summary report that identifies the uptime for each day
within the publication period and reports the results of the web monitoring system’s daily check that
verifies that the advertisement was available each day.

U.S. v. ERIC WADE FORCIER and JULIE ANN CAMPANA

Court Case No:              12CR295 (PAM/AJB)
For Asset ID(s):            See Attached Advertisement Copy

   Consecutive          Date Advertisement         Total Hours Web Site             Verification that
   Calendar Day          Appeared on the           was Available during              Advertisement
       Count                 Web Site                  Calendar Day                existed on Web Site
         1                   07/02/2013                      24.0                          Verified
         2                   07/03/2013                      24.0                          Verified
         3                   07/04/2013                      24.0                          Verified
         4                   07/05/2013                      24.0                          Verified
         5                   07/06/2013                      24.0                          Verified
         6                   07/07/2013                      24.0                          Verified
         7                   07/08/2013                      24.0                          Verified
         8                   07/09/2013                      24.0                          Verified
         9                   07/10/2013                      23.4                          Verified
        10                   07/11/2013                      24.0                          Verified
        11                   07/12/2013                      24.0                          Verified
        12                   07/13/2013                      24.0                          Verified
        13                   07/14/2013                      24.0                          Verified
        14                   07/15/2013                      23.9                          Verified
        15                   07/16/2013                      23.8                          Verified
        16                   07/17/2013                      24.0                          Verified
        17                   07/18/2013                      24.0                          Verified
        18                   07/19/2013                      24.0                          Verified
        19                   07/20/2013                      24.0                          Verified
        20                   07/21/2013                      24.0                          Verified
        21                   07/22/2013                      24.0                          Verified
        22                   07/23/2013                      24.0                          Verified
        23                   07/24/2013                      24.0                          Verified
        24                   07/25/2013                      23.6                          Verified
        25                   07/26/2013                      24.0                          Verified
        26                   07/27/2013                      24.0                          Verified
        27                   07/28/2013                      24.0                          Verified
        28                   07/29/2013                      24.0                          Verified
        29                   07/30/2013                      24.0                          Verified
        30                   07/31/2013                      24.0                          Verified
Additional log information is available and kept in the archives for 15 years after the asset has been disposed.
